Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 1 of 18 Page ID #:2230
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 2 of 18 Page ID #:2231
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 3 of 18 Page ID #:2232
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 4 of 18 Page ID #:2233
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 5 of 18 Page ID #:2234
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 6 of 18 Page ID #:2235
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 7 of 18 Page ID #:2236
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 8 of 18 Page ID #:2237
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 9 of 18 Page ID #:2238
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 10 of 18 Page ID #:2239
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 11 of 18 Page ID #:2240
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 12 of 18 Page ID #:2241
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 13 of 18 Page ID #:2242
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 14 of 18 Page ID #:2243
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 15 of 18 Page ID #:2244
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 16 of 18 Page ID #:2245
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 17 of 18 Page ID #:2246
Case 5:11-cv-00829-AB-OP Document 64 Filed 04/02/12 Page 18 of 18 Page ID #:2247
